                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF ALASKA


 DISABILITY LAW CENTER OF
 ALASKA, INC.,                           Case No. 3:07-cv-0131-RRB
             Plaintiff,
                                         ORDER DENYING MOTION FOR
 vs.                                     TEMPORARY RESTRAINING ORDER
                                         AND PRELIMINARY INJUNCTION
 ANCHORAGE SCHOOL DISTRICT,

             Defendant.


I.     INTRODUCTION

            Before the Court is Plaintiff Disability Law Center of

Alaska (“DLC”) with a Motion for Temporary Restraining Order and

Preliminary Injunction at Docket 4.         DLC seeks an order requiring

Defendant Anchorage School District (“ASD”) to release names and

contact information for the parents and guardians of special needs

students at Lake Otis Elementary School.         ASD opposes at Docket 17

on the grounds that the information is protected and not subject to

disclosure under the Family Educational Rights and Privacy Act


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(“FERPA”),1 and the Individuals with Disabilities Education Act

(“IDEA”).2     The Court heard oral argument on DLC’s Motion for

Consideration on Shortened Time on July 31, 2007.

             The Court has reviewed DLC’s Motion at Docket 4 and

Notice of Supplemental Authority at Docket 15, ASD’s Opposition at

Docket 17, and DLC’s Reply at Docket 18.         The Court has also

reviewed ASD’s Motion for Leave to File Supplemental Opposition at

Docket 20.    Because the Court finds the original briefing adequate

to resolve this matter, Defendant’s Motion at Docket 20 is denied.

             For the reasons set forth herein, DLC’s Motion for

Temporary Restraining Order and Preliminary Injunction at Docket 4

is denied.

II.   BACKGROUND

             This matter arises from a dispute between DLC and ASD

over access to contact information for the parents and guardians of

children attending special needs classrooms at Lake Otis Elementary

School during the 2006-07 academic year.

             DLC is the designated protection and advocacy (“P&A”)

agency for the State of Alaska pursuant to the Developmental




      1
             20 U.S.C. § 1232g.
      2
             20 U.S.C. §§ 1400-87.

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Disabilities Assistance and Bill of Rights Act (“DD Act”),3 the

Protection    and      Advocacy   for     Mentally   Ill    Individuals   Act

(“PAMII”),4 and the Protection and Advocacy for Individual Rights

Act (“PAIR”)5 (collectively “P&A Acts”).             As the P&A agency for

Alaska, DLC is authorized to “investigate incidents of abuse or

neglect of individuals with developmental disabilities if the

incidents are reported to the system or if there is probable cause

to believe that the incidents occurred.”6

            ASD   is    the   local     school   district   responsible   for

providing educational services, including special education, to

Anchorage students. Lake Otis Elementary School, a school overseen

by ASD, has two self-contained special education classrooms which

serve children who require a low teacher-student ratio in a special

education setting.       Each classroom also has a minimum of two adult

teaching assistants and fewer than 10 children.7             M.M. was one of

the special education teachers during the 2006-07 school year.8

      3
            42 U.S.C. § 15041, et seq.
      4
            42 U.S.C. § 10801, et seq.
      5
            29 U.S.C. § 794e, et seq.
      6
            42 U.S.C. §§ 15041(a)(2)(B); 15043(a)(2)(A)(i).
      7
            Docket 17-2 at 2.
      8
          In order to protect the privacy of the students and ASD
staff involved, the Court will follow the practice of referring to


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M.M. resigned at the end of the 2006-07 school year and none of the

teaching assistants who served in his classroom will be returning

to for the 2007-08 school year.9

             Plaintiff contends that since May of 2007, DLC has

received a total of six separate and corroborating complaints of

abuse and/or neglect in the other special needs classroom involving

M.M. and his teaching assistant, C.B.            On May 25, DLC received two

separate     complaints    alleging    abuse     and/or   neglect   in   M.M.’s

classroom.10    DLC received two further corroborating complaints on

June 25.11     On or about June 26, DLC received a complaint from a

parent/guardian of a student in the classroom that corroborated the

four previous complaints and provided additional information about

specific     incidents    as   well   as   general   complaints     about   the

classroom, teacher and staff.12

             On June 29, 2007, DLC initiated an investigation and

requested the following records from ASD: (a) Directory information

(names and contact information for the parents/guardians of the



ASD staff using only initials.
      9
             Docket 17 at 5.
      10
             Docket 5-3.
      11
             Docket 5-2.
      12
             Id., ¶ 6.


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students    in   the   class;13   (b)    Names    of   staff    working    in   the

classroom, including related service providers; (c) Information

regarding    any   and   all    complaints     regarding   the    classroom     an

teachers/staff      people     under    investigation;     (d)    Any     internal

investigation      conducted    by     ASD   connected   with    the   complaints

received.14 On July 6, 2007, after initiating an investigation, DLC

received a sixth complaint.15

             As a result of DLC’s June 29 records request, ASD learned

of an incident that had been reported to the Principal at Lake Otis

Elementary and the ASD Superintendent involving one child in M.M.’s

classroom.       ASD also learned of a series of other allegations

involving personnel in both of the special needs classrooms.16

             ASD initially refused to provide any records to DLC until

DLC provided additional information regarding the complaints.17 DLC

informed ASD that based on the complaints and results of the

      13
          Because the phrase “directory information” has a specific
legal meaning under federal educational privacy laws which both
parties agree does not characterize the parent/guardian contact
information sought by DLC, the Court will refer to the requested
information as parent/guardian contact information. See 20 U.S.C.
§ 1232(a)(5)(A); Docket 17 at 15-17, Docket 18 at 3.
      14
             Docket 5 at 2-3.
      15
             Docket 5-2, ¶ 9.
      16
             Docket 17 at 6-7.
      17
             Docket 5-6.


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initial investigation, it had probable cause to believe that

neglect or abuse had occurred.         However, DLC did not provide ASD

with any details regarding the complaints or the time frame during

which the alleged events occurred and has been reluctant throughout

to disclose the specifics of its concern to ASD.18

            Through an exchange of letters, ASD provided some of the

information DLC had requested, but maintained its refusal to

provide DLC with parent/guardian contact information on the grounds

that it constituted personally identifiable information not subject

to disclosure under federal law.19 DLC maintains that it needs this

information so that it can contact the parents to inform them of

the allegations DLC has received and to obtain permission to review

the records of other children as part of its investigation.20

Interestingly, although DLC wishes to inform parents/guardians of

its concerns, it is unwilling to make these disclosures to ASD.

            On several occasions, ASD requested DLC’s cooperation in

developing access agreements and investigation protocols.21 At oral



      18
            Docket 5-7.
      19
            Docket 5-8.
      20
            Docket 5 at 3-4.
      21
          See Docket 5-6; Docket 7-7; Docket 11-4 at 2; Docket 17-
7; Docket 17-8.


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argument,   ASD   explained    that   it   is    concerned   about   adequate

protection from potential liability for unlawful disclosure of

confidential information if it were to comply with DLC’s request.

DLC, however, has declined to negotiate access agreements or

protocols for investigations as a matter of policy.22

            DLC filed a Complaint in federal court on July 16, 2007,

seeking injunctive relief to obtain contact information for the

parents/guardians of special needs students at Lake Otis Elementary

School.    One week later, on July 23, 2007, DLC filed a Motion for

Temporary Injunction and Preliminary Injunction.23 Affidavits from

DLC staff filed with DLC’s motion indicate that the complaints

received involve “general problems with classroom conditions and

the treatment of students” and an allegation that a “child was

subject to abuse/neglect while a student in the classroom.”24             DLC

requested that its motion be heard on shortened time so that

“parents of the children in the classroom where the alleged abuse

and/or neglect [occurred] may be notified.”25         The Court heard oral

argument on DLC’s motion on July 31, 2007.


      22
            Docket 17 at 8.
      23
            Docket 4.
      24
            Docket 5-2 at 2; Docket 5-3; Docket 5-4.
      25
            Docket 7 at 2, ¶ 9.


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III. STANDARD OF REVIEW

            The Court initially notes the parties’ disagreement

regarding the applicable standard of review.             DLC seeks an order

requiring ASD to disclose the names and contact information for the

parents/guardians of special needs students at Lake Otis Elementary

School.    DLC titles its request “Motion for Preliminary Injunction

and Temporary Restraining Order.”26

            ASD, however, posits that DLC’s motion seeks a permanent,

rather than preliminary injunction because once the information is

released   it   cannot   be   recovered.27       The   Court   agrees.   This

distinction is significant because in order to obtain a permanent

injunction, DLC must demonstrate “actual success” rather than only

a “likelihood of success” on the merits.28

            A preliminary injunction is a provisional remedy designed

to preserve the status quo until the court can resolve the case on




      26
            See Docket 4.
      27
            Docket 17 at 9.
      28
          See Sierra Club v. Penfold, 857 F.2d 1307, 1318 (9th Cir.
1988) (citing Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531,
546 n.12 (1987)) (“The standard for a preliminary injunction is
essentially the same as for a permanent injunction except
likelihood of success on the merits rather than actual success must
be shown.”); see generally Warsoldier v. Woodford, 418 F.3d 989,
993-94 (9th Cir. 2005) (standard for preliminary injunction).


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the merits.29    Logically, this is why a party seeking preliminary

injunctive    relief   needs   only   to   demonstrate   a    likelihood   of

success, rather than actual success on the merits.           Here, however,

DLC does not seek a provisional remedy pending resolution of the

matter.    Indeed, whether DLC is entitled to the parent/guardian

contact information is the “merits of the case.”30 Therefore, DLC’s

motion is properly characterized as a motion for a permanent

injunction.

             Under   “well-established      principles   of     equity,”    a

plaintiff seeking a permanent injunction must show that (1) it has

suffered irreparable injury; (2) the available legal remedies are

inadequate to compensate for that injury; (3) the balance of

hardships between the plaintiff and defendant warrants an equitable

remedy; and (4) the public interest would not be disserved by a

permanent injunction.31      “The decision to grant or deny permanent




      29
          Dep’t of Parks & Recreation v. Bazaar Del Mundo, Inc.,
448 F.3d 1118, 1124 (9th Cir. 2006).
      30
             See Docket 1 at 5.
      31
          eBay Inc. v. MercExchange, L.L.C., __ U.S. __, 126 S. Ct.
1837, 1839 (2006) (citing Weinburger v. Romero-Barcelo, 456 U.S.
305, 311-13 (1982); Amoco, 480 U.S. at 542).


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injunctive relief is an act of equitable discretion by the district

court, reviewable on appeal for abuse of discretion.”32

            ASD also asserts that DLC’s motion seeks a mandatory,

rather than prohibitory injunction.33         Again, the Court agrees.       “A

prohibitory     injunction      preserves   the   status    quo”   whereas   a

mandatory injunction orders affirmative conduct that “goes well

beyond simply maintaining the status quo.”34

            DLC argues that since the law already requires disclosure

of ASD’s parent/guardian contact information, DLC merely seeks to

preserve the status quo.        However, DLC’s argument assumes what it

is trying to prove.       Whether the law requires disclosure of the

directory is what DLC must demonstrate in order to establish

success    on   the   merits.     Moreover,   even   if    the   law   requires

disclosure of the directory, ASD has not yet disclosed it.35                 An

order granting DLC’s requested relief would necessarily order




      32
            Id.
      33
          See Docket 17 at 9-10 (citing Meghrig v. KFC Western,
Inc., 516 U.S. 479, 484-85 (1996)).
      34
          Stanley v. Univ. of S. Cal., 13 F.3d 1313, 1320 (9th Cir.
1994) (citing, inter al., Anderson v. United States, 612 F.2d 1112,
1114 (9th Cir. 1979)) (omitting quotation marks).
      35
            Docket 5 at 13.


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affirmative conduct from ASD, which is the essence of a mandatory

injunction.36

             The Court concludes that DLC’s motion seeks a mandatory

permanent injunction.      Accordingly, the Court reviews DLC’s motion

for actual success on the merits and heeds the caution that motions

for mandatory injunctions are “particularly disfavored,”37 “subject

to heightened scrutiny”,38 and “should not be issued unless the

facts and law clearly favor the moving party.”39

IV.   DISCUSSION

      A.     DLC’s Asserted Access Authority

             As the P&A system for the State of Alaska, DLC is

authorized    to   “investigate    incidents     of   abuse   or   neglect   of

individuals with developmental disabilities if the incidents are

reported to the system or if there is probable cause to believe



      36
          Cf. Wash. Prot. & Advocacy Sys., Inc. v. Evergreen Sch.
Dist., CV03-5062 (W.D. Wash. April 11, 2003) (available at Docket
17, Ex. 10) (declaring motion for release of contact information
for parents and/or guardians of all students with disabilities
mandatory rather than prohibitory), aff’d, 71 Fed. Appx. 654 (9th
Cir. 2003).
      37
          Stanley, 13 F.3d at 1320 (citing, inter al., Anderson,
612 F.2d at 1114) (omitting quotation marks).
      38
          Dahl v. HEM Pharms. Corp., 7 F.3d 1399, 1403 (9th Cir.
1993) (citing Anderson, 612 F.2d at 1114).
      39
             Id.


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that    the   incidents    occurred.”40     The    DD   Act’s   implementing

regulations define “probable cause” as “a reasonable ground for

belief that an individual with developmental disabilities has been,

or may be, subject to abuse or neglect.”41 Although none of the P&A

Acts explicitly require ASD to give DLC a list of students and

contact information for their parents or guardians, several courts,

including the Second and Seventh Circuits, have ruled that a P&A

agency is entitled to the names and contact information for the

parents and/or guardians of children with disabilities.42

              DLC asserts that it has probable cause for its belief

that ASD staff in the special needs classrooms at Lake Otis

Elementary have engaged in actions which potentially constitute

abuse or neglect toward students with disabilities.43 DLC based its

determination on complaints received and information gathered

through its investigation.44         According DLC, general complaints

regarding     “classroom   conditions”    are     sufficient    to   establish

       40
              42 U.S.C. § 15041(a)(2)(B).
       41
              45 C.F.R. § 1386.19.
       42
          See Conn. Office of Prot. & Advocacy for Persons with
Disabilities v. Hartford Bd. of Educ., 464 F.3d 229 (2nd Cir.
2006); Disability Rights Wisc., Inc. v. Wisc. Dep’t of Pub.
Instruction, 463 F.3d 719 (7th Cir. 2006).
       43
              Docket 5 at 3-6.
       44
              Id.


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probable cause as to all students in the special needs classrooms.45

At oral argument DLC clarified that the complaints involved one

special needs teacher, one teacher aide, and one child.

            Significantly, the teacher at issue resigned at the end

of the 2006-07 school year and none of his teaching assistants will

be returning for the 2007-08 school year.46       Nevertheless, DLC

asserts that it has probable cause to obtain the parent/guardian

contact information for all special needs children in order to

contact parents for permission to review records of other children

during its investigation. ASD has provided much of the information

that DLC has requested, but refuses to provide names and contact

information of the parents/guardians of the special needs children

on the grounds that DLC has not demonstrated probable cause and

that FERPA and IDEA prohibit ASD from disclosing the information.

            The parties do not dispute that the DD Act authorizes DLC

to make the initial probable cause determination. However, ASD may

seek judicial review of the sufficiency of DLC’s probable cause

determination.47    DLC has made no showing that other children have


      45
            Id. at 7.
      46
            Docket 17 at 5; Docket 17-2 at 2.
      47
          See Iowa Prot. & Advocacy Servs., Inc. v. Gerard
Treatment Programs, L.L.C., 152 F. Supp. 2d 1150, 1172 n.1 (N.D.
Iowa 2001) (citing Ariz. Ctr. for Disability Law v. Allen, 197


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been or continue to be subject to abuse or neglect.          Complaints

regarding a former teacher’s classroom during the previous school

year are insufficient to establish probable cause to investigate

the entire specials needs program in a subsequent year absent some

showing of systemic neglect.        DLC has not made any such showing.

            DLC asserts that even without probable cause, it is

entitled to parent/guardian contact information.48        DLC cites 45

C.F.R. § 1386.22(i) which provides that if a P&A agency is denied

access to “records covered by the Act it shall be provided promptly

with a written statement of reasons, including, in the case of a

denial for alleged lack of authorization, the name and address of

the legal guardian, conservator, or other legal representative of

an individual with developmental disabilities.”49       DLC argues that

under this regulation, “all a P&A must do to receive a list of

guardians is to ask for it.”50        However, as to the information at

issue in the present case, DLC’s reliance on this regulation is

tenuous and would produce illogical results, particularly in light



F.R.D. 689, 693 (D. Az. 2000); Pa. Prot. & Advocacy, Inc. v. Royer-
Greaves Sch. for Blind, 1999 WL 179797 at *8 & n.11 (E.D. Pa.
1999)).
      48
            Docket 5 at 11.
      49
            Id. (citing 45 C.F.R. § 1386.22(i)).
      50
            Id. (citing Royer-Greaves, 1999 WL 179797 at *6-*8).


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of ASD’s asserted confidentiality obligations under FERPA and IDEA,

discussed below.     DLC’s authority does not support the conclusion

that    parent/guardian    contact   information     constitutes     “records

covered by” the DD Act.

       B.    ASD’s FERPA/IDEA Obligations

             ASD maintains that FERPA and IDEA prohibit educational

agencies from disclosing an individual’s “educational records” or

“personally identifiable information contained therein other than

directory    information,”    without    the     written   consent   of   that

individual’s parents or guardians.51           Both parties agree that the

parent/guardian contact information sought by DLC does not fit

within the “directory information” exemption of these statutes.52

             It appears that no federal court of appeals has addressed

the interrelationship between FERPA/IDEA and the P&A Acts in the

context of access to parent/guardian contact information as sought

by DLC.     The Seventh Circuit has addressed the issue of access to

the unredacted names of students in an investigative file, but did




       51
          See 20 U.S.C. § 1232g(b)(1) (FERPA); 34                  C.F.R. 99
(FERPA); 20 U.S.C. §§ 1412(a)(8), 1417(c) (IDEA);                  34 C.F.R.
300.611-.627 (IDEA).
       52
             See Docket 17 at 15-17; Docket 18 at 3.


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not discuss access contact information for parents/guardians.53 The

Second Circuit has acknowledged the issue of access to students’

parent/guardian contact information, but declined to address it

because the school district abandoned its argument on appeal after

the Department of Education and the Department of Health and Human

Services    (“DOE/DHHS”)    jointly    filed     an    amicus   brief   (“Amicus

Brief”) taking a position on the issue.54             DLC submits the DOE/DHHS

Amicus Brief as supplemental authority in the present matter.55

Additionally, the parties respectively rely on the decisions of two

separate federal district courts.56

            DLC relies on a decision of the District of Connecticut

for   its    argument    that    the    P&A      Acts    require    access   to




      53
          Disability Rights Wisc., Inc. v. Wisc. Dep’t of Pub.
Instruction, 463 F.3d 719, 724 (7th Cir. 2006).
      54
          See Conn. Office of Prot. & Advocacy for Persons with
Disabilities v. Hartford Bd. of Educ., 464 F.3d 229, 233, 237-38
(2nd Cir. 2006).
      55
          See Br. for Dep’t of Educ. & Dep’t of Health & Human
Servs. as Amici Curae Supp. Pl.-Appellees, Conn. Office of Prot. &
Advocacy for Persons with Disability v. Hartford Bd. of Educ., No.
05-1240-CV (2nd Cir. June 2, 2006) (available at Docket 15-2).
      56
          See Conn. Office of Prot. & Advocacy for Persons with
Disabilities v. Hartford Bd. of Educ., 355 F. Supp. 2d 649 (D.
Conn. 2005); Wash. Prot. & Advocacy Sys., Inc. v. Evergreen Sch.
Dist., CV03-5062 (W.D. Wash. April 11, 2003) (available at Docket
17, Ex. 10), aff’d, 71 Fed. Appx. 654 (9th Cir. 2003).


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parent/guardian contact information notwithstanding FERPA/IDEA.57

In Hartford, the district court granted injunctive relief in favor

of the Connecticut Office of Protection and Advocacy (“OPA”) to

obtain a directory of students containing parent/guardian contact

information    from    the    defendants      Hartford   Board    of    Education,

Hartford Public Schools, and Hartford Superintendent of Schools

(collectively      “Hartford     defendants”).58         The     district     court

concluded that allowing OPA to access names and contact information

served the purposes of the P&A Acts by allowing OPA to pursue an

investigation      while     limiting   its    access    to   records    until   it

received authorization from students and parents, as the court

deemed required by FERPA and IDEA.59               Thus, the district court

concluded that it was able to harmonize the various statutes.60

             On appeal to the Second Circuit, the Hartford defendants

initially argued that FERPA and IDEA prohibited them from providing

OPA   with     the    list     of   students’      parent/guardian          contact

information.61       However, the Hartford defendants abandoned this


      57
             Hartford, 355 F. Supp. 2d at 664.
      58
             Id.
      59
             Id.
      60
             Id.
      61
             464 F.3d 229, 235-36 (2nd Cir. 2006).


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argument at oral argument and agreed to defer to the position taken

by DOE/DHHS in its Amicus Brief that the P&A Acts override FERPA’s

non-disclosure requirements.62          Because the Hartford defendants

abandoned their FERPA argument, the Second Circuit expressly did

not address it.63      Notably, DOE/DHHS advanced the position that

“FERPA does not bar a P&A from obtaining access to the name of and

contact    information     for   a   parent,     guardian,    or   other    legal

representative of a minor student with a disability” when “the

P&A’s probable cause determination satisfies the requirements for

access to records under the . . . DD Act.”64                  DOE/DHHS further

asserted that where the statutes are in conflict, the DD Act is

“properly understood as a limited override of FERPA’s generally

applicable non-disclosure requirements.”65

            This   Court   declines    to   adopt    the     reasoning     of   the

DOE/DHHS Amicus Brief because it reaches conclusions that are

inconsistent with case law within the Ninth Circuit which this



      62
            Id. at 236.
      63
          Id. at 237-38. The court nevertheless accorded “some
deference [to the DOE/DHHS Amicus Brief] on account of the
‘specialized experience’ and information available to the agency.”
Id. at 239.
      64
            Docket 15-2 at 16.
      65
            Id.


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Court finds persuasive, namely the decision of the Western District

of Washington in Washington Protection and Advocacy System, Inc. v.

Evergreen School District which the Ninth Circuit affirmed.66

            In Evergreen, the Washington Protection and Advocacy

System (“WPAS”) sought a preliminary injunction to obtain the names

of all students with disabilities participating in the Evergreen

School District’s Work Experience Program and contact information

for their parents and/or guardians, which the school district had

refused to release.67       The court denied the motion because the

allegations were not sufficient to establish probable cause that

the child in question had suffered abuse or neglect68 and because

it was “not sufficiently satisfied that the P&A Acts override the

FERPA and IDEA.”69      The court held that WPAS failed to show that

FERPA/IDEA and the P&A Acts could be “‘harmonized’” because “the

type of information sought cannot properly be characterized as

‘directory information.’”70      The court explained that “[d]irectory

information . . . clearly does not include contact information for

      66
          Case No. C03-5062 (W.D. Wash. April 11, 2003) (available
at Docket 17, Ex. 10), aff’d 71 Fed. Appx. 654 (9th Cir. 2003).
      67
            Id. at 1.
      68
            Id. at 5.
      69
            Id. at 4.
      70
            Id. (citing 20 U.S.C. § 1232g(a)(5)(A)).


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parents/guardians or information sufficient to establish which

students are participating in [Evergreen School District’s Work

Employment Program].”71      On limited review for abuse of discretion,

the   Ninth    Circuit   unanimously    affirmed    the   district    court’s

decision.72     The court acknowledged that its review was “much more

limited than review of an order involving a permanent injunction,

where all conclusions of law are freely reviewable.”73               Based on

that standard, the court concluded: “We cannot say that the

district court abused its discretion here.”74

              ASD, like the school district in Evergreen, argues that

the information sought by DLC pertaining to parents and guardians

of the students is not “directory information” (which can be

disclosed      under   FERPA)   but    rather    “personally   identifiable

information” which is protected by FERPA and IDEA.75           ASD points to

the plain language of applicable regulations which classifies

information about parents or guardians, including their identities,


      71
              Id. (citing 20 U.S.C. § 1232g(a)(5)(A)).
      72
          See Wash. Prot. v. Evergreen Sch. Dist., 71 Fed. Appx.
654 (9th Cir. 2003).
      73
          Id. at *654 (citing Walzac v. EPL Prolong, Inc., 198 F.3d
725, 730 (9th Cir. 1999)).
      74
              Id. at *655.
      75
              Docket 17 at 13-17.


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as “personally identifiable information” which cannot be disclosed

without written consent of the parents or guardians.                Under FERPA,

“directory information” includes “the student’s name, address,

telephone listing, date and place of birth, major field of study,

participation in officially recognized activities and sports,

weight     and   height     of   members    of    athletic   teams,     dates    of

attendance, degrees and awards received, and the most recent

previous    educational      agency   or    institution      attended    by     the

student.”76      Noticeably absent from the definition of directory

information      is   any   reference      to    the   identities   or   contact

information of the parents and/or guardians of the children.

             In contrast, FERPA explicitly protects parent/guardian

contact information from disclosure as “personally identifiable

information” which includes, but is not limited to: (a) The

student’s name; (b) The name of the student’s parent or other

family member; (c) The address of the student or student’s family;

(d) A personal identifier, such as the student’s social security

number or student number; (e) A list of personal characteristics

that would make the student’s identity easily traceable; or (f)

Other information that would make the student’s identity easily




      76
             20 U.S.C. § 1232g(a)(5)(A).


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traceable.77     The   information    requested   by   DLC   is   personally

identifiable information because it would likely contain the names

of the children’s parents and/or family members, addresses for the

children’s families, and personal characteristics of the child such

as the children’s placement in a special needs classroom.

            Like the Western District of Washington in Evergreen,

this Court is likewise unpersuaded by DLC’s argument that the P&A

Acts override FERPA/IDEA in this instance.             Although the Ninth

Circuit’s    memorandum    order    affirming    the   district   court   in

Evergreen does not contain explicit discussion of the district

court’s legal conclusions, the review for abuse of discretion

included a determination that the district court relied on correct

legal standards.78 Based on this limited scope of review, the Ninth

Circuit found no abuse of discretion and therefore impliedly held

that the district court’s legal conclusions were not erroneous.79

This Court cannot surmise how the Ninth Circuit would have ruled if

it had “freely review[ed]”80 the district court’s conclusions of law



      77
            34 C.F.R. § 99.3.
      78
            71 Fed. Appx. at *654.
      79
            Id. at *655.
      80
          See id. at *654 (citing Walzac v. EPL Prolong, Inc., 198
F.3d 725, 730 (9th Cir. 1999)).


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in Evergreen, or how it might rule now in light of recent decisions

of the Second Circuit,81 Seventh Circuit,82 and positions taken by

DOE/DHHS in their Amicus Brief to the Second Circuit.83          The Court

declines to follow decisions of the Second and Seventh Circuits and

accordingly    holds   that   the   P&A   Acts   do   not   override   ASD’s

FERPA/IDEA privacy obligations under the facts and circumstances of

this case.

      C.     Irreparable Injury and Inadequacy of Remedy at Law

             DLC argues that it will suffer irreparable harm without

the Court’s intervention because it will not be able to carry out

its mandate to investigate allegations of abuse and neglect and to

protect individuals with disabilities.            However, there is no

indication of continuing potential for abuse or neglect since the

teacher and teaching assistant provoking the complaints are no

longer employed at the school.       Moreover, any harm suffered by DLC

in the absence of injunctive relief is neither irreparable, nor




      81
          Conn. Office of Prot. & Advocacy for Persons with
Disabilities v. Hartford Bd. of Educ., 464 F.3d 229 (2nd Cir.
2006).
      82
          Disability Rights Wisc., Inc. v. Wisc. Dep’t of Pub.
Instruction, 463 F.3d 719 (7th Cir. 2006).
      83
             See Docket 15-2.


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without adequate remedy at law. DLC can continue to investigate by

making a proper legal inquiry.

        D.   Balance of Hardships:

             DLC argues that the balance of hardships tips in its

favor    because   producing     the   information     would   not   require   a

significant investment of time or resources from ASD and because

DLC is required to protect the privacy and confidentiality of

student information once it is provided to DLC.                DLC alleges it

would suffer significant hardship without the information because

it would be unable to complete a full investigation.                  However,

after considering the facts and the state of the law relating to

this matter, the Court is unable to conclude that the balance of

hardships between the parties warrants an equitable remedy in favor

of   DLC,    particularly   in    light   of   ASD’s    frequently-expressed

willingness to cooperate through the formation of access agreements

and protocols.

        E.   Public Interest:

             DLC has not shown that the public interest would not be

disserved by its requested injunction. Given that ASD and DLC have

similar interests, it would appear that the public interest would

be better served through cooperation between the parties.                It is

time they work together to achieve their mutually held goal of



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ensuring that children with disabilities are able to obtain a

quality education in a safe environment.

V.   CONCLUSION

            DLC has neither demonstrated sufficient probable cause,

nor that the facts and law clearly favor its request. Accordingly,

DLC’s   Motion   for   Temporary   Restraining   Order   and   Preliminary

Injunction is DENIED.       Because this order resolves the merits of

the case, DLC’s Complaint is hereby dismissed with prejudice.

            IT IS SO ORDERED.

            ENTERED this 26th day of September, 2007.

                                    S/RALPH R. BEISTLINE
                                    UNITED STATES DISTRICT JUDGE




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